
665 S.E.2d 461 (2008)
MOORE
v.
NATIONWIDE INSURANCE.
No. 330A08.
Supreme Court of North Carolina.
August 19, 2008.
Robert O. Crawford, III, Aaron C. Hemmings, Raleigh, for Moore.
George L. Simpson, III, Raleigh, for Nationwide.
The following order has been entered on the motion filed on the 18th day of August 2008 by NCATL for leave to file Amicus Curiae Brief:
"Motion Allowed. Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i). By order of the Court in conference this the 19th day of August 2008."
